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IN THE CIRCUIT COURT FOR MONTOMERY COUNTY, MARYLAND

KAREN RHODES,
P.O. Box 634
State College, PA 16804

Plaintiff, Civil Action No.: V465600
v.

PARKLANE APARTMENTS, LLC...
6807 Park Heights Avenue

Suite 100

Baltimore, MD '21215°

FAIRFIELD RESIDENTIAL COMPANY, LLC
5510 Morehouse Drive

Suite 200

San Diego, CA 92121

Defendants.

AMENDED COMPLAINT?

PlaintifP Kare Rhodes, by and through her counsel Emejuru Law LLC, brings
forth this action against Parklane Apattment, LLC and Fairfield Residential Company, LLC, and
tespectfully states as follows:

JURISDICTION

. 1. Jutisdiction is proper pursuant to Section 1-501 and 6-102 of the Coutts and Judicial

Proceedings article of the Maryland Code Annotated, among other applicable provisions.

* This complaint is labeled “Amended Complaint,” however, the filing of this amended complaint is
ptimarily based on a filing error.
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Plaintift Karen Rhodes has ptoperly exhausted her administrative remedies before the
Maryland Commission Civil Rights and Montgomery County Office of Human Rights to
bring forth claims of discrimination stated herein.

VENUE

Venue is proper in this judicial district because this cause of action atose in this judicial
Defendant Parklane Apattments, LLC is leone in this judicial district and does business
iis thig judicial district.

Wefendant Fairfield Residential Company, LLC is located in San Diego, California and
dees business in this judicial district.

PARTIES

Plaintiff Karen Rhodes is a natural petson and a resident of the state of Pennsylvania.
Fairfield Recidential Company, LLC (heteinafter “Fairfield”) owns and manages Patklane
Apattments, LLC and tegularly conducts and ttansacts business within the State of
Maryland.

Patklane Apartments, LLC (heteinafter “Parklane”) regularly conducts and transacts
business within the State of Maryland.

FACTUAL ALLEGATIONS

‘Rhodes is Disabled and a Voucher Holdet
Plaifititf Kaze Rhodes is a former resident of the State of Matyland.
Rhodes began living in the Parklane Apattments tesidences located in Gaithersburg,
Matyland in or about October 2002. She occupied a two-bedroom, one bath apattment in

the Parklane apartment complex. She lived in the unit for approximately 16 years.
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11. Patklane Apartment tesidences do not have one-bedroom apattment units. Defendants
only have two-bedroom apattments, three-bedroom townhouses and four-bedtoom
townhouses.

12. In order to meet her rental payments, Rhodes qualified for a Housing Choice Vouchet
from the Montgomery County Matyland Housing Opportunities Commission (“HOC”).
An HOC Housing Choice Voucher provides a “rent subsidy to clients so they can afford
safe and quality affordable housing in Montgomety County.”

13. At all times stated herein, Rhodes was considered a ofle-petson housing choice voucher
hoider and Defendants knew that she held a housing voucher. Defendants also knew that
her only source of income was through Supplemental Security Income (“SSI”) and Social
Security Disability Income (“SSDI”).

14. At all titnes herein Defendants knew apptoximately how much Plaintiff earned through
SSI aiid'‘SSDI for each year that she maintained her tenancy.

Rhodes Requested an Accommodation and Filed A Complaint of Discrimination

15, In or about February 2015, Rhodes had lateral-ankle ligament teplacement surgery that
tequited her to use a cane and weat ait cast.

16. As a result of her disability, Mr. Rhodes requested to routinely stand outside of her
apattment unit to wait for her routine pick-up rides.

17. Rhoded tequeésted'an accommodation in the form of allowing her to sit on the “retaining
wall.?? However, on October 8, 2015, Rhodes was told by Defendants that she was not
ssexmtined'to sit on the “retaining wall.” Rhodes was told that it “looks bad” when people

ate sitting atound on the premises.

? http://www.hocme.org/tental-programs.html
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In October 14, 2015, Rhodes was waiting for a medical tide to sutgety at Johns Hopkins
University Hospital in Baltimore, Maryland. Rhodes was told by Defendants that she could
not sit on the wall to wait for her tide.

In March antG, Rhodes was Ofice again waiting for her tide to a doctot’s appointment.
Rhodes was sertiined at by Defendants’ property manager Nell Shaughney. Shaughney
told Rhodes ene she could not sit on the wall. Prior to Shaughney’s employment with
refers, Rhodes utilized the wall to sit and wait for her medical appointments for
nomena 13 years.

Tn Match 2016, Rhodes contacted the Montgomery County Housing Authority, Housing
Oppottunities Commission (HOC), and spoke with Rebecca Grayson. Grayson contacted
Ms. Nell Shaughney, a teptesentative ptoperty manager for Defendants’ Parklane
apartments.

In afltrosind April 1, 2016, Grayson visited Rhodes at her home and they walked around
the’ property together. Both composed a “letter of accommodation” and ‘also attached
medical documentation certifying her health condition. The medical documentation
certified that she had severe back problems that substantially limited her ability to walk,

stand, and lift.

2. On or about Aptil 1, 2016; both Grayson and Rhodes submitted the letter to Patklane

management. Shaughney received the letter requesting an accommodation.

In Aptil 2016, shottly after submitting her accommodation request, Defendants submitted
a #equest to HOC to increase Rhodes monthly rental payment to $865.00 per month to
over $1400.00 pet month. However, HOC denied the original request and allowed a rental

increase to $1245.00 pet month.
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24, Rhodes'believed that if her rent increased at all, het tent could only increase incrementally
to apptoximately $875.00 per month given that the property was a Low Income Housing
Tax Credit (LIHTC) property. The unit was further “rent restricted” and could not exceed
30 petcent of the imputed.income limitation, pursuant to 26 U.S.C. Section 42 and the
Maryland Qualified Administrative Plan (QAP).

25, However, she was blindsided.by Defendants when her tent skyrocketed by approximately
44.00%. Ms. Rhodes was never told in advance about the inctease. As an HOC vouchet
recipient, this increase caused her to exceed her voucher payment standard of $1330.00.

26. “Fhis meant that her own personal expenditure, which was ptimarily based on her SSI and
SSDI income, would increase from $0 to $122.00, despite no change in het income.’ As
artesalt; Ms, Rhodes’ had to use mote of her limited disability income to pay for utilities,
causitig het'to have diminished resources for food and petsonal items.

27. However; a similar unit next door to Rhodes, 8014-1, had only an incremental rent increase
‘Bom apptoximately $1,243.00 per month to $1,245.00 per month for their renewed lease

* year: Defendants knew that the 8014-1 unit maintained an income higher than Plaintiffs
and were not voucher holders.

28. Othet similarly situated residents who maintained HOC Vouchets, were charged higher

. tental incteases-than non-HOC Vouchet Holders with the same units of size and rooms.
As a‘téstilt of ‘the increase, ee HOC Voucher holdets were forced to move out of
Defeiadaits property. This was especially applicable to one-petson voucher holders.

29. Rliodes complained to Defendants’ Felicia Hatfield. Hatfield told Rhodes that “If you ate

" 86 unhappy [at Patklane], we will let you out of your lease with no penalties.”

3 Prior to 201 6, Plaintiff did pay any personnel expenditures through het SSI and SSDI for her rent and Defendants
knew of this fact.

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On August 31, 2016, Rhodes received official notice from HOC that her rent for het

apartment at Parklane Apartments jumped from $865.00 pet month to $1245.00 per

month. With this inctease, Rhodes rent, and utilities included, would increase to
apptoximately $1332.00 per month.

a ot deol September 6, 2016, Rhodes was seatching for places to live after the tent
inctease from Defendants. While on the internet, she saw similar unit isto at Parklane
apattments beginning at “875.00 per month.”

The official tent increase for Rhodes went into effect on or alsout October 2016.

Rhodes filed a federal housing disctimination complaint with the U.S. Department of
Housing and Urban Development on December 2, 2016.

On'Dedenibier 12, 2016, through counsel, Rhodes further complained of discriminatory
housing: practices.

n° Rhodes is Harassed and Retaliated Against in:2017

On June 1, 2017, Defendants attempted to raise Rhodes rent from $1,245.00 pet month

to $1,394.00 per month. The increase represented greater than 10% annual rent taise
petmitted under Maryland law. The new tates continued to put additional strain on
kesoutces already capped through Rhodes’ SSI and SSDI income.

After Rhodes: complained of discriminatoty leasing practices, Defendants lowered the
ptopdsed'vental iaeieaae to a modest $1352.00 per month.

Asa resale of the disctiminatoty rental increases against voucher holders, some voucher
holders were fotced to move out of the Defendants’ property.

‘Similarly ‘situated non-voucher holders wete issued bate minimum rent increases.
Specifically, an identical unit and non-voucher holder in unit 8014-I, incurted a rental

increase from betweetr $1245.00 per month to $1270.00 pet month.
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Rhodes filed another Charge of Discrimination on December 22, 2107 alleging
discrimination based on soutce of income pursuant to Montgomery County Code,
Chapter 27, Atticle I, Section 27-12.

oo Riess is Harassed and Retaliated Against in 2018
In October 2018, Defendants once again increased Plaintiffs tent from $1352.00 per
month to $1485.00 per month. This increase caused het petsonal share of rent under the
HOC calculation to go from $183.00 per month to $221.00 pet month, while her disability
income barely increased at all. As a result, Ms. Rhodes had to use mote of her limited
disability income to pay for utilities, causing het to have diminished resoutces fot food
and personal items.
Similarly. situated non-voucher holdets wete issued bate minimum tent incteases.
Specifically an identical unit, 7915-F, incurred a rental increase from $900.00 per month
in 2017 to $960.00 per month in 2018. Defendants knew that 7915-F’s income was higher
than Plaintiffs.
‘Another similarly situated non-vouchet holder who had an identical unit, 8014-1, incutted -
a tental increase from $1270.00 pet month to between $1395.00 pet month to $1399.00
permonthy: “+
As 4 tesult of the substantial rent increases, Rhodes was forced to move from het unit and
relocaté to’ neighboring state of Pennsylvania to find affordable housing and a unit suitable

for her medical needs.

PLAINTIFF’S CLAIMS

Count 1 — Retaliation
Fait Housing Act of 1968 — 42 U.S.C. § 3604
Matyland State Government Article, §20-702
Montgomery County Code, Chapter 27, Article I, Section 27-12

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44. Plaintiff incorporates all paragraphs herein seriativ.

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Defendant, by and through, its agents or supetvisors, tetaliated against Plaintiff after of
her request of for reasonable accommodation and complaints of discrimination.

Plaintiff prays for judgment against Defendants for all damages allowable by law, statutory
damages, compensatory damages, punitive damages, pre-judgment interest at the legal tate,
post judgment interest at the judgment tate, attorney’s fees as may be awarded by the
Court, the costs of this action, equitable relief, and such other and further telief as may
appear warranted by this action.

Count 2 - Retaliatory Harassment
Fair Housing Act of 1968 — 42 U.S.C. § 3604

Maryland State Government Article, §20-702
Montgomery County Code, Chapter 27, Article I, Section 27-12

Plaintiff incorporte all patagraphs herein Sériation.

Defendant, by and through, its agents or supervisors, unlawfully and continuously
felallated against Plaintiff because of her complaints of discrimination and request for
accommodation.

Plaintiff oo for jndgment oe Defendants for all damages allowable by law, statutory
damages, compensatory emce, punitive damages, pte-judgment interest at the legal rate,
post-judgmeitt ifiterest at the judgment rate, attorney’s fees as may be awatded by the
Coutt, thé costs of this action, equitable relief, and such other and further relief as may
appeatiivanainted by this action.

Count 3 — Disctimination
Maryland State Government Article, §20-702
Montgomery County Code, Chapter 27, Article I, Section 27-12

Plaintiff incorporates all paragraphs Hers Seriati¢.

Defendant, by and through, its agents or supetvisors, unlawfully discriminated against
Plaintiff becatise of her income.

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52. Plaintiff prays for judgment against Defendants for all damages allowable by law, statutory
damages scompéns atoty damages, punitive damages, pre-judgment interest at the legal rate,
post-judgment interest at the judgment rate, attorney’s fees as may be awarded by the
Coutt, the costs of this action, equitable telief, and such other and further telief as may
appeat warranted by this action.

PRAYER FOR RELIEF
Plaintiff prays that judgment, which exceeds $75,000.00, be enteted against Defendants for all
damages allowable (including statutory, actual, compensatory, nominal, and punitive) expenses,
attorney’s fres;and-for stich e her and further relief as may be just and proper.

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~ Dated this 18" day of April, 2019

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